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                              UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON
                                       PORTLAND DIVISION



 ALIGN TECHNOLOGY, INC.,                              Civil Action No. 3:24-cv-00763-SB

                               Plaintiff,

        V.

 DISCHINGER ORTHODONTICS, P.C. and
 DR. WILLIAM DISCHINGER,

                               Defendants.



         STIPULATED CONSENT JUDGMENT AND PERMANENT INJUNCTION

        Upon consent of the parties, the Court hereby makes the following findings of fact and

conclusions oflaw, and orders as follows:

        1.       The Court has jurisdiction over the parties and the subject matter.

        2.       Align is the owner of numerous INVISALIGN trademarks, including without

limitation those asserted in this case: U.S. Trademark Registration No. 4025403; U.S.

Trademark Registration No. 3191195; U.S. Trademark Registration No. 3060471; U.S.

Trademark Registration No. 3911988; U.S. Trademark Registration No. 3418121; U.S.

Trademark Registration No. 2409473; U.S. Trademark Registration No. 3627894; U.S.

Trademark Registration No. 3661970; and U.S. Trademark Registration No. 4767183

(collectively, the "INVISALIGN Marks").

        3.       The above-referenced trademark registrations for the INVISALIGN Marks are

valid and enforceable, and are in full force and effect, and Align is the owner of all right, title,

and interest in the registrations.



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        4.       Defendants Dischinger Orthodontics, P.C. and Dr. William Dischinger

("Defendants") stipulate to the entry of a consent judgment and permanent injunction enjoining

any future use of the INVISALIGN Marks, or any colorable imitation thereof, or any other mark

or designation confusingly similar to the INVISALIGN Marks, in an infringing manner or in

false advertising in the provision of dental or orthodontic products and services.

       5.        Accordingly, judgment is hereby entered in favor of Plaintiff Align and against

Defendants on Counts I-VI of Align's Complaint in this action.

       6.        A permanent injunction is hereby entered in favor of Plaintiff Align and against

Defendants Dischinger Orthodontics, P.C. and Dr. William Dischinger; Defendant Dischinger

Orthodontics, P.C.'s officers, agents, servants, employees, and attorneys; and all persons and

entities in active concert or participation with Defendants Dischinger Orthodontics P.C. and Dr.

William Dischinger as of the date of this Judgment. These parties are hereby permanently

enjoined from using the INVISALIGN Marks, or any colorable imitation thereof, or any other

mark or designation confusingly similar to the INVISALIGN Marks, in an infringing manner or

in false advertising in the provision of dental or orthodontic products and services.

       7.        Defendants irrevocably and fully waive any and all rights to appeal this stipulated

Consent Judgment and Permanent Injunction.

       8.        The parties shall bear their own costs and fees related to this matter.

       9.        The Parties, by and through their undersigned counsel, consent to jurisdiction and

venue in the District of Oregon, to the jurisdiction of the undersigned United States Magistrate

Judge to conduct any and all proceedings in this case, including entry of orders on dispositive

motions, trial, and entry of final judgment, including under Federal Rule of Civil Procedure




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72(b) and 28 U.S.C. §§ 636(c), (e)(4), and to entry of this Consent Judgment and Permanent

Injunction.

         10.    The Court shall retain jurisdiction over this matter to enforce the terms of this

order.




                                               Honorable Stacie F. Beckerman
                                               United States Magistrate Judge




Dated: June 11, 2024



 By:                                                By:--------,,���-+-+-----
       -----------                                     Ste en T. Love , OSB No. 910701
       Klaus H. Hamm, OSB No. 091730                   Steve.lovett@stoel.com
       klaus.hamm@klarquist.com                        STOEL RIVES LLP
       KLARQUIST SPARKMAN, LLP                         760 SW Ninth Ave, Ste. 3000
       121 S.W. Salmon St., Ste. 1600                  Portland, OR 97205
       Portland, Oregon 97204                          Telephone: (503) 224-3380
       Telephone: (503) 595-5300
       Facsimile: (503) 595-5301                    Attorneys for Defendants Dischinger
                                                    Orthodontics, P.C. and Dr. William Dischinger
       Jennifer Seraphine (pro hac vice)
       seraphine@tumerboyd.com
       Jacob Zweig (pro hac vice)
       zweig@turnerboyd.com
       TURNER BOYD SERAPHINE LLP
       155 Bovet Road, Suite 750
       San Mateo, California 94402
       Tel: (650) 521-5930
       Fax: (650) 521-5931

Attorneys for Plaintiff Align Technology, Inc.




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